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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

D’ANNA WELSH,                                )
                                             )
              Plaintiff,                     )              Case No. 2:22-cv-00216
                                             )
       v.                                    )
                                             )
WILLIAM V. MARTINEZ, JR., and KELLY )
MARTINEZ f/k/a KELLY ROUSSEAU, and )
PROSPERITY HOME MORTGAGE, LLC,               )
and MORTGAGE ELECTRONIC                      )
REGISTRATION SYSTEMS, INC., as               )
nominee for Prosperity Home Mortgage and its )
Successors and Assigns,                      )
                                             )
              Defendants.                    )

                                         COMPLAINT

       Plaintiff D’Anna Welsh brings this action against Defendants William V. Martinez, Jr.

(“Martinez”), Kelly Martinez f/k/a Kelly Rousseau (“Rousseau”), Prosperity Home Mortgage,

LLC (“Prosperity”) and Mortgage Electronic Registration Systems, Inc. (“MERS”).

                                       INTRODUCTION

       1.      Following a 2012 jury trial in Connecticut, the Connecticut Superior Court entered

a $2,360,000 judgment in Plaintiff’s favor against Defendant Martinez.1 In 2017, the Connecticut

court held Defendant Martinez in contempt for willfully violating a court-mandated asset standstill

order and fraudulently transferring over $2,000,000 to Martinez’s ex-wife to thwart Plaintiff’s

judgment enforcement efforts. As a contempt fine, the Connecticut court ordered Martinez to pay



1
 Defendant Martinez, a medical doctor, installed spy cameras in Plaintiff’s home, including secret
cameras in Plaintiff’s bedroom pointed toward her bed and a camera pointed toward her bathroom
shower, Martinez implanted spyware on Plaintiff’s computer and he covertly placed a GPS tracker
on her vehicle. Welsh v. Martinez, 157 Conn. App. 223, 227 (2015), cert. denied, 317 Conn. 922
(2015) (judgment affirmed on appeal).
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Plaintiff $25,000 per month until the contempt fine was paid in full. The contempt finding was

affirmed on appeal in 2019. Despite having been held in contempt of court dating back to 2017,

Defendant Martinez never purged his contempt. In December 2020, the Connecticut court issued

a capias for Martinez’s arrest, which remains open amid his continued defiance of court orders.

       2.      While Martinez was in contempt of court and flouting the court-mandated $25,000

monthly contempt fine payments owed to Plaintiff, Martinez took the following actions: (1)

Martinez withdrew $798,956 from his Charles Schwab IRA, drawing down the balance from

$1,040,274 to $241,318, (2) Martinez withdrew $270,472 from his Capital Group American Funds

IRA, drawing down the balance from $270,472 to $0, (3) Martinez fraudulently transferred

$120,000 as a purported down payment/gift on Defendant Rousseau’s home in Englewood,

Florida, (4) Martinez fraudulently transferred $140,000 as another down payment/gift on

Defendant Rousseau’s second home purchase in Naples, Florida, and (5) Martinez fraudulently

transferred $380,000 as a purported early pre-payment of Defendant Rousseau’s mortgage on the

Naples home.

       3.      Martinez’s intention in fraudulently conveying his assets was again to frustrate

Plaintiff’s judgment enforcement efforts. Plaintiff respectfully petitions the Court for relief.

                                             PARTIES

       4.      Plaintiff is a natural person residing at 97 Jonathan Trail, Glastonbury, CT 06033

in Hartford County, Connecticut.

       5.      Defendant Martinez is a natural person residing at 15919 Secoya Reserve Circle,

Naples, FL 34110 in Collier County, Florida.

       6.      Defendant Rousseau is a natural person residing at 15919 Secoya Reserve Circle,

Naples, FL 34110 in Collier County, Florida.




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        7.      Defendant Prosperity is a Virginia limited liability company with a principal place

of business at 14501 George Carter Way, Suite 300, Chantilly, VA, 20151.

        8.      Defendant MERS is a Delaware corporation with a principal place of business at

5660 New Northside Drive NW 3rd Floor, Atlanta, GA 30328.

                                 JURISDICTION AND VENUE

        9.      There is complete diversity between the parties pursuant to 28 U.S.C. § 1332.

Plaintiff is a citizen of Connecticut. Defendants Martinez and Rousseau are citizens of Florida.

Defendant Prosperity is a citizen of Virginia. Defendant Prosperity is a wholly owned subsidiary

of its sole member Long & Foster Real Estate, Inc., which is also a citizen of Virginia, having been

incorporated in Virginia and maintaining a principal place of business at 14501 George Carter

Way, Suite 300, Chantilly, VA, 20151. MERS is a citizen of Delaware and Georgia.

        10.     The amount in controversy requirements of 28 U.S.C. § 1332 are satisfied because

more than $75,000 is at issue, exclusive of costs, interest and attorneys’ fees.

        11.     This action properly lies in the Middle District of Florida pursuant to 28 U.S.C. §

1391 because facts giving rise to this action occurred within this District and Defendants reside

within this District.

        12.     The real property referenced in the Complaint is located in this District.

        13.     Venue is appropriate in this court.

                         FACTS COMMON TO ALL ALLEGATIONS

        14.     Plaintiff incorporates by reference the allegations in the preceding paragraphs as if

fully set out herein.

        15.     Plaintiff is a judgment-creditor as to a $2,360,000 judgment against Defendant

Martinez dated December 5, 2012 entered by the Superior Court of Hartford County, Connecticut




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under Case No. CV-XX-XXXXXXX-S (the “$2.3 Million Judgment Dated December 5, 2012”). A

certified copy of the $2.3 Million Judgment Dated December 5, 2012 is attached as Ex. A.

       16.     On February 9, 2021, Plaintiff domesticated the $2.3 Million Judgment Dated

December 5, 2012 as an active Florida judgment pursuant to Fla. Stat. § 55.505 under Collier

County Circuit Court Case No. 11-2021-CA-000365-0001-XX.

           Background of the $2.3 Million Judgment Dated December 5, 2012,
    Defendant Martinez’s Fraudulent Transfer of Assets and the 2017 Contempt Order

       17.     In a 2015 reported opinion, the Appellate Court of Connecticut set forth the

unsettling facts which led to the $2.3 Million Judgment Dated December 5, 2012. Welsh v.

Martinez, 157 Conn. App. 223 (2015), cert. denied, 317 Conn. 922 (2015) is attached as Ex. B.

       18.     As set forth therein, Defendant Martinez engaged in a spine-chilling scheme of

covert conduct in his installation of spy cameras in Plaintiff’s home including cameras in

Plaintiff’s bedroom pointed toward her bed, a camera positioned toward her bathroom shower,

keystroke/spyware implanted on Plaintiff’s computer and a GPS tracker on her vehicle. Id.

       19.     In the second of two reported cases, in 2019, the Appellate Court of Connecticut

set forth the facts which led to the 2017 contempt order against Defendant Martinez. Welsh v.

Martinez, 191 Conn. App. 862 (2019) is attached as Ex. C.

       20.     After the jury returned the 2012 verdict in Plaintiff’s favor, in 2012, Plaintiff moved

for prejudgment attachment and filed a “Motion to Prevent Defendant’s Fraudulent Transfer of

Property.” Id. at 866. Plaintiff alleged that she had “a reasonable belief that [the] defendant will

attempt to fraudulently transfer property in violation of [the Uniform Fraudulent Transfer Act,

General Statutes § 52-552a et seq.].” Id. The Connecticut court granted Plaintiff’s 2012 motion,

allowed Plaintiff to attach up to $2 million of Martinez’s property, ordered Martinez to disclose

his assets and enjoined Martinez from “voluntarily transferring or encumbering any assets except



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business assets in the ordinary course of business and personal assets for ordinary living expenses,

including court-ordered alimony and child support.” Id. at 866-67.

        21.     Martinez willfully violated the court’s order. In 2017, the Connecticut court held

Martinez in contempt for violating its orders, including the asset standstill order dating back to

2012. In violation of that order, Martinez had fraudulently transferred the entirety of his over $2

million in income from October 30, 2012 to March 24, 2016 to his ex-wife’s bank account “for

the express purpose of placing the entirety of such funds outside the reach of the plaintiff.” Id. at

869. As a contempt fine, running concurrent with the judgment, the court imposed a compensatory

fine of $2.2 million “payable directly to [the plaintiff] in an amount of $25,000 per month, until

such fine is paid in full.” Id. at 876. The court found that Defendant Martinez had the ability to

pay, including based on “statements from certain individual retirement accounts held by the

defendant” such as his statement from an account with Charles Schwab & Co., Inc. in the amount

of $802,888.19 as of May 31, 2017 and a statement from an account with American Funds,

administered by Capital Group, with an ending value of $464,910.48 as of June 30, 2017. Id. at

882.

        22.     Defendant Martinez appealed the 2017 contempt finding, with his seven-figure

annual salary, claiming that he purportedly did not have an ability to pay. The appellate court

disagreed, finding that based on Martinez’s income, his lack of substantial liabilities and the

substantial assets in his retirement accounts, Martinez “had not proven a financial incapacity to

comply with the court's fine of $25,000 per month” and instead he “possessed ‘sufficient income

and other assets’ to pay that fine.” Id.




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       23.     The appellate court found that Plaintiff was “harmed by the defendant’s

contemptuous conduct,” and the appellate court remanded to the trial court to liquidate a specific

damages calculation. Id. at 883.

                      The Trial Court Liquidated a Damages Award of
                $2,048,009 Pursuant to the 2017 Contempt Ruling on Remand

       24.     Following the 2019 remand from the Appellate Court of Connecticut, the

Connecticut Superior Court conducted proceedings in conformity with the Appellate Court of

Connecticut’s 2019 opinion.

       25.     Accordingly, on December 20, 2019, the Connecticut Superior Court held a hearing

on damages.

       26.     On February 19, 2020, the Honorable Carl J. Schuman of the Connecticut Superior

Court entered a Ruling on Remand from the Appellate Court. The February 19, 2020 Ruling is

attached as Ex. D.

       27.     As referenced in the 2019 appellate decision, Defendant Martinez wrongfully and

fraudulently transferred the equivalent of $2,220,400 into his ex-wife’s account between October

2012 and March 2016.

       28.     Pursuant to the February 19, 2020 Ruling, Judge Schuman factored in Plaintiff’s

loss of use of the $2,220,400 that Defendant Martinez diverted, as the Court found no evidence of

superior liens or anything that would have prevented Plaintiff from collecting on the full amount.

The court factored in postjudgment interest at 3.5% totaling $308,946 through February 19, 2020

and attorney’s fees of $55,992. The court then subtracted Defendant Martinez’s total payments to

date of $537,331. Pursuant to these calculations, the court found that the total amount of Plaintiff’s

loss from Martinez’s fraudulent transfers to his ex-wife was $2,048,009. Id. at ¶¶ 1-5.




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       29.     In calculating Plaintiff’s loss of $2,048,009, the calculations were as follows:

$2,220,400 loss of use of diverted funds + $308,946 interest + $55,992 attorneys’ fees for contempt

– $537,331 in payments from Defendant = $2,048,009 in damages. Id. at ¶ 2-5.

       30.     On February 19, 2020, Judge Schuman expressly ordered Defendant Martinez to

pay Plaintiff a compensatory contempt fine of $2,048,009, which must be paid directly to the

Plaintiff in the amount of $25,000 per month until paid in full. Id. at ¶ 6

               6. The court accordingly orders the defendant to pay a compensatory
       contempt fine of $2,048,009.06. The court continues Judge Moll's order to pay the
       fine directly to the plaintiff in the amount of $25,000 per month until the
       defendant has fully paid the net actual loss. Welsh v. Martinez, supra, 191 Conn.
       App. 870. Any payments that the defendant makes should be credited against the
       judgment of $2,360,000 plus postjudgment interest at the rate of 3.5%.

Id.

       31.     The court confirmed that any payment made by Defendant Martinez pursuant to the

compensatory contempt fine would be credited against the $2.3 Million Judgment Dated December

5, 2012 plus post judgment interest at 3.5%. The court concluded by stating “it will be up to the

plaintiff to decide what remedy to employ to collect the compensatory fine if the defendant does

not comply with paragraph 6 of this order.” Id. at ¶ 6-8.

       32.     Accordingly, Defendant Martinez had been found in contempt on November 9,

2017. He has remained in contempt since that time. On August 20, 2019, the Appellate Court of

Connecticut affirmed the Superior Court’s November 9, 2017 contempt finding. On February 19,

2020, the Superior Court expressly issued the contempt fine of $2,048,009 and ordered Defendant

Martinez to continue to pay $25,000 per month until the Defendant has fully paid the net

actual loss of $2,048,009. On February 19, 2020, the Superior Court also noted the existence of

retirement accounts which “may total $1.5 million.”




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       33.    After entry of the 2019 appellate opinion affirming the trial court’s 2017 contempt

finding, Defendant Martinez did not appeal any orders.

          Defendant Martinez Fraudulently Transferred $120,000 to Defendant
        Rousseau for Rousseau’s Purchase of Real Property in Englewood, Florida

       34.    On January 23, 2020, in the Connecticut Superior Court, Plaintiff filed a Statement

of Amount of Judgment with Post-Judgment Interest and Attachment. Eight days later on January

31, 2020, Martinez withdrew $120,000 from his American Funds retirement account.

       35.    On February 19, 2020, the Connecticut Superior Court entered its Ruling on

Remand liquidating the $2,048,009 contempt fine and it again ordered Martinez to pay monthly

installments of $25,000. Twelve days later on March 2, 2020, Martinez fraudulently transferred

approximately $120,000 as a purported down payment/gift on the house Rousseau purchased on

March 4, 2020 located at 6231 Lomax St, Englewood, FL 34224 (the “Englewood Property”).

       36.    The Warranty Deed for Rousseau’s purchase of the Englewood Property is dated

March 2, 2020. Ex. E. Rousseau signed the deed March 4, 2020 and it was recorded on March 12,

2020 in the Charlotte County Clerk of Circuit Court (OR Book: 4550, PGS: 1825-26). Id.

       37.    The purchase price for the Englewood Property was $238,200.

       38.    On March 3, 2020, Rousseau executed a mortgage as to the Englewood Property in

favor of Bank of America, N.A. to secure a note for $108,200 pursuant to the purchase of the

Englewood Property. Ex. F.

       39.    The mortgage was recorded on March 12, 2020 in the Charlotte County Official

Records (OR Book: 4550, PGS: 1827-41).

       40.    Considering the purchase price of $238,200, the mortgage of $108,200 and

Martinez’s payment of $120,000, Martinez paid at least half of the purchase price of Rousseau’s

Englewood Property instead of paying any of that money to Plaintiff.



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        41.     In 2019, as he geared up to transfer six-figure sums of money as a gift for the

purchase of a different woman’s real property, Martinez failed to make his court-ordered $25,000

monthly contempt-fine payments to Plaintiff in March 2019, September 2019, October 2019,

November 2019 and December 2019.

        42.     In 2020, amid his fraudulent transfers, Martinez failed to make his court-ordered

$25,000 monthly contempt-fine payments to Plaintiff in January 2020, February 2020, March

2020, April 2020, May 2020, June 2020, July 2020, August 2020, October 2020, November 2020

and December 2020.

        43.     To be sure, Defendant Martinez increased his fraudulent conveyance activity amid

a scheme to gin up the excuse that he did not have enough money to comply with the court-

mandated $25,000 monthly contempt fine. Martinez engaged in this bad faith conduct while

already in contempt of court and under threat of incarceration, eventually resulting in the issuance

of a capias for his arrest.

        44.     In further willful defiance of the court’s orders, Martinez failed to make any of his

court-ordered $25,000 monthly contempt-fine payments to Plaintiff for the entire year of 2021 and

thus far for the entire year of 2022 despite having resumed his high-salary employment as a

surgeon in Florida.

       The Connecticut Court Again Ordered Martinez to Pay $25,000 per Month
     and Informed him that he will be Incarcerated Upon Continued Non-Compliance

        45.     As noted above, in March 2020, Defendant Martinez fraudulently transferred

$120,000 to be concealed as purported equity in a house owned by Rousseau. Meanwhile,

Defendant Martinez failed to pay his court-ordered $25,000 monthly contempt fines under the

purposed auspices of a lack of sufficient funds. In effect, Defendant Martinez proclaimed himself

insolvent while in the midst of his fraudulent transfers.



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        46.    On March 18, 2020 Plaintiff filed an Affidavit of Non-Payment in the Connecticut

Superior Court. Then on April 13, 2020, Plaintiff filed a Motion for Incarceration or in the

Alternative for Other Sanctions Due to Failure to Comply.

        47.    Pursuant to Plaintiff’s April 13, 2020 motion, on August 14, 2020, Judge Schuman

entered an order holding that Defendant Martinez failed to make any of the $25,000 monthly

payments dating back to August 2019 (the “August 14, 2020 Contempt Order”). Ex. G.

        48.    In the August 14, 2020 Contempt Order, the court reaffirmed Defendant Martinez’s

ability to pay, holding that “the court continues to believe that the defendant has the ability to pay.”

Id. at 1.

        49.    The court expressly held that “the exhibits and the testimony of the defendant

establish that the defendant has approximately $1 million in retirement funds.” Id. Moreover, this

amount was after Defendant Martinez had already withdrawn and fraudulently transferred at least

$120,000 for amalgamation into Rousseau’s Englewood Property.

        50.    The court further found that between December 2019 and August 2020, while

Defendant Martinez failed to make any of the $25,000 monthly payments as ordered, Defendant

had “liquidated approximately $216,000 in additional retirement funds, thus revealing the

defendant’s willingness to pay any applicable taxes and penalties and use funds that are nominally

reserved for retirement.” Id.

        51.    Accordingly, pursuant to the August 14, 2020 Contempt Order, the court again

expressly ordered that, “defendant shall pay the plaintiff $25,000 by September 15, 2020 and by

the fifteenth of each succeeding month.” Id.

        52.    The court expressly warned that upon noncompliance, Defendant Martinez “shall

be incarcerated or otherwise confined for civil contempt.” Id.




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           As to the Purchase of Property in Naples, Florida, Martinez Fraudulently
    Transferred $140,000 for a Down Payment and Rousseau Executed a $480,000 Mortgage

         53.   The day before the court entered its August 14, 2020 Contempt Order, sellers Timo

Petermichl and Mandy Petermichl signed a Warranty Deed dated August 13, 2020 transferring the

real property at 5919 Secoya Reserve Circle, Naples, FL 34110 (the “Secoya Property”) to

Rousseau. Ex. H. Pursuant to that deed, title was taken in Rousseau’s sole individual name.

         54.   The Secoya Property features four bedrooms, three and a half bathrooms, 3,091

square feet and a pool.

         55.   The Collier County property appraiser lists the date of the sale of the Secoya

Property as August 13, 2020.

         56.   The Warranty Deed for the Secoya Property recorded with the Clerk of Court and

Comptroller for Collier County, however, is dated August 25, 2020 and was recorded on August

28, 2020 (OR 5808, PGS 1542-43). Ex. I. The recorded deed grants title of the Secoya Property to

both Defendant Rousseau and Defendant Martinez as tenants by the entireties. The recorded deed

has the seller’s same signature page, which was signed and notarized on August 13, 2020, however

the first page where title is taken was swapped out and replaced.

         57.   The purchase price of the Secoya Property was $620,000, per the Collier County

Property Appraiser.2

         58.   On August 28, 2020, Defendant Prosperity recorded a $480,000 mortgage signed

by Martinez and Rousseau on August 25, 2020 (OR 5808, PGS 1544-56). Ex. J. Under the

mortgage, Defendant MERS is the mortgagee, acting solely as a nominee for Prosperity and

Prosperity’s successors and assigns.



2
 As of today, the Secoya Property reflects an approximate market value of $1,061,200.
https://www.zillow.com/homedetails/15919-Secoya-Reserve-Cir-Naples-FL-34110/113984127_zpid/


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       59.     With a purchase price of $620,000 and a mortgage of $480,000, the purchase of the

Secoya Property was funded with at least $140,000 in cash.

       60.     Defendant Martinez is a judgment-debtor and Defendant Martinez’s credit was not

used pursuant to the Prosperity mortgage on the Secoya Property.

       61.     Defendant Martinez, however, supplied the entirety of the $140,000 in cash for the

purchase of the Secoya Property in August 2020. Yet, during the same time frame, Defendant

Martinez was simultaneously claiming to be unemployed and supposedly without an ability to pay

the $25,000 per month contempt fine to Plaintiff as ordered by the court and for which Martinez

was already in contempt.

       62.     To obtain the $480,000 mortgage for the Secoya Property, Rousseau completed and

signed a Uniform Residential Loan Application on August 25, 2020. Therein, Rousseau asserted

that she earned base employment income of $13,750 per month ($165,000 per year). Rousseau

also claimed she owned liquid assets in the bank in the amount of $147,994, which were likely the

proceeds of a fraudulent transfer from Defendant Martinez. Defendant Rousseau also asserted

ownership of the Englewood Property which she valued at $250,000. Therefore, on her application

Rousseau claimed total assets of $397,994.

       63.     Rousseau’s monthly payment pursuant to the $480,000 mortgage consisted of

$1,991 in principal and interest, plus an estimated escrow amount for property taxes and insurance

of $650 per month for a total of $2,641, against $13,750 per month in income. With her salary of

$165,000 per year and approximately $400,000 in assets, Rousseau easily qualified for the

mortgage without Martinez. Rousseau had the ability to pay the $2,641 monthly mortgage

payments with her $13,750 monthly salary, after which she ran a monthly surplus of $11,109.




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               Martinez Fraudulently Transferred $380,000 to Prosperity
        to Conceal Assets pursuant to the Pretext of a Purported Prepayment of
    Rousseau’s Mortgage Supposedly Designed to Lower Monthly Mortgage Payments

       64.     On August 28, 2020, less than two weeks after the Connecticut Superior Court

ordered Defendant Martinez to continue paying Welsh $25,000 per month or face incarceration or

confinement for civil contempt, Martinez fraudulently transferred $380,000 to Defendant

Prosperity through a check from Martinez’s Bank of America account.

       65.     August 28, 2020 was also the same day on which the mortgage securing Rousseau’s

$480,000 note payable was recorded. Accordingly, the very same day that the $480,000 mortgage

was recorded, Martinez paid Rousseau’s note down by $380,000, from $480,000 to $100,000.

       66.     Martinez attempted to justify this $380,000 fraudulent conveyance by proclaiming

that he was supposedly trying to “lower the monthly mortgage payment.” But the mortgage itself

does not provide for “recasting” of an amortization schedule or otherwise reconfiguring and

lowering monthly payments pursuant to a partial prepayment.

       67.     Martinez admitted that he has no evidence that the amount of Rousseau’s monthly

mortgage payments actually decreased by any amount whatsoever. There is no evidence of any

recasting, refinancing or any new mortgage with a lower monthly payment recorded on the Secoya

Property.

       68.     Accordingly, Martinez’s explanation for his $380,000 fraudulent conveyance on

grounds that he was attempting to lower Rousseau’s monthly mortgage payment, wihtout any

evidence of a reduction of the payment, appears to be pretext consisting of apparent perjury by

Martinez.

       69.     Moreover, Martinez proclaimed to have been unemployed during this time, around

August 28, 2020, he was a judgment-debtor as to Plaintiff and he had been failing to pay his court-




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ordered $25,000 monthly contempt fine payments to Plaintiff. Therefore, Martinez was not in any

reasonable position prepay someone else’s mortgage.3

       Martinez Willfully Failed to Provide his Quarterly Court-Ordered Financial
     Disclosures amid his Fraudulent Conveyances and Intentional Depletion of Assets

       70.     August 2020 was the month in which the closing on the Secoya Property occurred,

it was the month in which Martinez transferred $140,000 for the down payment on the Secoya

Property and it was the month in which Martinez transferred another $380,000 for the pre-payment

on Rousseau’s mortgage. In this same month, August 2020, Martinez stopped complying with his

court-mandated production of quarterly asset and financial statements. For over a year from

August 20, 2021 to August 19, 2021, Martinez willfully violated the unambiguous court order

requiring his production of quarterly asset disclosure statements.

       71.     Between June 2020 and July 2021, Defendant Martinez withdrew $779,652 from

his Charles Schwab retirement account, in the absence of any retirement.

       72.     From the $779,652, Defendant Martinez converted $120,000 into a down payment

on the Secoya Property and another $380,000 as a prepayment of the mortgage on the Secoya

Property which was not in his name.

       73.     Rousseau was fully aware of all material aspects of Martinez’s fraudulent transfers.

       74.     Rousseau was also fully aware of Martinez’s court-ordered obligation to provide

quarterly financial statements. In fact, according to Martinez, Rousseau helped Martinez draft

quarterly financial statements by actually typing financial information dictated by Martinez into

an Excel document.




3
 Defendant Martinez is no longer unemployed and yet, to this day, he persists in refusing to pay
his monthly $25,000 court-ordered contempt fine payments to Plaintiff.


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  Rousseau Sold the Englewood Property and Retained the Equity from the Fraudulent
  Conveyance while Martinez Continued to Refuse to Pay Plaintiff Despite Court Orders

         75.      On October 14, 2020, Rousseau signed a Warranty Deed dated October 13, 2020

transferring the Englewood Property to buyer Joan Riswold. Ex. K. The Warranty Deed was

recorded with the Charlotte County Clerk of Circuit Court on October 16, 2020 (OR Book: 4647,

PGS: 1121-22).

         76.      The sale price for the Englewood Property was $247,500, per the Charlotte County

Property Appraiser.

         77.      With a $247,500 sale price and a $108,200 mortgage, before commission and

closing costs, approximately $140,000 was available in cash from the proceeds of the sale.

         78.      On November 3, 2020, a Mortgage, Release, Satisfaction and Discharge was

recorded regarding the satisfied mortgage on the Englewood Property (OR Book: 4665, PG: 1159).

Ex. L.

         79.      Defendants used none of the approximately $140,000 in sales proceeds to pay

Plaintiff, as Martinez has not made a single monthly $25,000 payment, or any payment at all, to

Plaintiff for the past 18 months since September 14, 2020.

                Martinez Willfully Violated the August 14, 2020 Contempt Order,
               He Remains in Contempt and the Court Issued a Capias for his Arrest

         80.      On December 23, 2020, the Honorable Carl J. Schuman of the Connecticut Superior

Court entered an order holding Defendant Martinez in contempt (the “December 23, 2020

Contempt Order”). The December 23, 2020 Contempt Order is attached as Ex. M.

         81.      Judge Schuman held as follows:

                  A.    Defendant failed to comply with the court order (Entry #321.86, para.
                        1) to pay the $25,000 monthly fine in October, November, and
                        December, 2020;




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               B.     Defendant failed, since August, 2020, to comply with the court order
                      (Entry #167.86 , para. 2) to provide a detailed asset and financial
                      disclosure on a quarterly basis;

               C.     Defendant has the ability to pay, based largely on money held in his
                      retirement accounts;
               D.     Defendant remains in contempt of court;

               E.     The court will issue a capias for his arrest;

               F.     The capias will identify the following conditions of release: 1)
                      posting of a $75,000 bond, cash or surety, and 2) provision of a
                      current asset and financial statement.

Id.

       82.     Accordingly, on December 23, 2020, Judge Schuman held that Martinez “remains

in contempt of court” and separately issued a capias for Martinez’s arrest.

       83.     Martinez absconded to Florida with the open capias, though he claims he had

moved to Florida shortly before Judge Schuman issued the capias. To date, Martinez has refused

to surrender in Connecticut or otherwise purge his contempt, preferring instead to burden this

Court and Plaintiff with the task of securing Martinez’s compliance.

       84.     As set forth in the December 23, 2020 Contempt Order, Martinez failed to pay the

court-ordered $25,000 monthly contempt fine in October 2020, November 2020, December 2020

for a total amount owed at that time of $75,000.

       85.     Martinez also failed to pay the court-ordered $25,000 monthly fine in January 2021,

February 2021, March 2021, April 2021, May 2021, June 2021, July 2021 and August 2021,

September 2021, October 2021, November 2021, December 2021, January 2022, February 2022

and March 2022, for a total additional amount owed of $375,000.




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       86.     Accordingly, through March 2022, Martinez owes $450,000 in $25,000 monthly

contempt fines alone. Apparently, a capias for his arrest was not enough to motivate Martinez to

abide by judicial orders.

       87.     On May 18, 2021, Plaintiff filed a separate action against Martinez for enforcement

and contempt pursuant to Martinez’s continuing violations of the Connecticut orders (D’anna

Welsh v. William V. Martinez, Jr., Case No. 2:21-cv-00396). That case is pending before this

Honorable Court.

       In Furtherance of the Fraud, Defendants Martinez and Rousseau Deceptively
           Altered the Title of the Secoya Property as Purported Joint Tenants

       88.     A year after purchasing the Secoya Property, on August 25, 2021 Martinez and

Rousseau executed another quitclaim deed, this time transferring the Secoya Property to

themselves as joint tenants (instead of tenants by the entireties), and this time using Rousseau’s

name as Kelly “Martinez.” Ex. N. The quitclaim deed was recorded with the Clerk of Court and

Comptroller for Collier County on September 20, 2021 (OR 6013, PGS 3663-64).

       89.     Martinez has admitted in the pending companion case (Welsh, Case No. 2:21-cv-

00396) that since January 1, 2020, Martinez has withdrawn at least $600,000 from his retirement

accounts and he admitted that he used the money for reasons other than to pay Plaintiff. Defendant

Martinez failed to fully account for that $600,000 in missing money.

       90.     Since January 1, 2020, Martinez withdrew $1,069,428 from his retirement accounts

amid his failure to pay Plaintiff. Since January 1, 2020, the balance of Martinez’s Charles Schwab

IRA Rollover account decreased by $798,956 from $1,040,274 to $241,318. Since January 1,

2020, the balance of Defendant Martinez’s Capital Group American Funds IRA decreased from

$270,472 to $0.00.




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        91.    Even after accounting for taxes and early withdrawal penalties, Martinez

fraudulently transferred at least $640,000 to Rousseau since January 1, 2020. Martinez

fraudulently transferred to Rousseau the $120,000 down payment for Englewood Property, the

$140,000 down payment for the Secoya Property and the $380,000 purported prepayment of

Rousseau’s mortgage on the the Secoya Property. At a minimum, however, those fraudulent

transfers should be set aside and Defendants should be held jointly accountable to Plaintiff in full.

        92.    Plaintiff has engaged counsel and agreed to pay counsel’s reasonable attorneys’

fees.

                  COUNT ONE – VIOLATION OF THE UNIFORM
              FRAUDULENT TRANSFER ACT § 726.105, FLA. STAT. ANN.

                         (Against Defendants Martinez and Rousseau)

        93.    Plaintiff incorporates by reference all the allegations in Paragraphs 1-92 of the

Complaint as if fully set out herein.

        94.    Plaintiff is a creditor under § 726.102, Fla. Stat. Ann.

        95.    Martinez is a debtor under § 726.102, Fla. Stat. Ann.

        96.    Under § 726.105, Fla. Stat. Ann., Martinez’s transfers of cash for the down

payments and purchase of the Englewood Property and Secoya Property in the name of Rousseau,

as well as Martinez’s paydown of Rousseau’s mortgage, were transfers made with actual intent to

hinder, delay and defraud Plaintiff.

        97.    Moreover, under § 726.105, Fla. Stat. Ann., the transfers were made without

Martinez receiving a reasonably equivalent value in exchange for the transfer, and Martinez was

engaged in a transaction for which the remaining assets of Martinez were unreasonably small in

relation to the transaction. Furthermore, Martinez intended to incur, or believed or reasonably

should have believed that he would incur, debts beyond his ability to pay as they became due.



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          98.    The transfers to Rousseau were to an insider. Under § 726.102(8), Fla. Stat. Ann.,

Rousseau is an insider because she is a relative of Martinez as his wife.

          99.    Moreover, Martinez retained possession or control of the property transferred after

each transfer.

          100.   Martinez did not disclose the transactions to Plaintiff until after they occurred.

Moreover, despite multiple court orders, Martinez failed to provide Plaintiff with quarterly

financial statements after August 2020 until August 2021.

          101.   Before Martinez made each transfer, he not only had been sued by Plaintiff but he

was already a judgment-debtor and was in contempt of court for non-compliance with payment

orders.

          102.   Each transfer was of a substantial amount of Martinez’s assets.

          103.   Furthermore, Martinez absconded. The transfers were made within less than a year

of Martinez fleeing Connecticut and relocating to Florida.

          104.   Martinez has removed and concealed hundreds of thousands of assets, including as

he admitted, by removing $1,069,428 from his retirement accounts since January 1, 2020 and aside

from one $25,000 payment in September 2020, using it for reasons other than to pay Plaintiff.

          105.   Martinez received little to no consideration in exchange for each transfer, and

received nothing in exchange for titling the Secoya Property as tenants by the entireties with

Rousseau, and then as joint tenants.

          106.   Martinez was unemployed and/or insolvent at the time of the transfer or became

insolvent shortly after the transfer was made.

          107.   Moreover, the transfers occurred in close temporal proximity to the entry of court

orders and other court proceedings.




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       108.    The fraudulent transfers to Rousseau were in violation of Uniform Fraudulent

Transfer Act § 726.105, Fla. Stat. Ann.

       109.    Plaintiff demands all remedies, including without limitation a money judgment for

the amount of the fraudulent transfers and all remedies under § 726.108, Fla. Stat. Ann, including

equitable and injunctive relief, including a lien on real property, and including costs and reasonable

attorneys’ fees.

                   COUNT TWO – VIOLATION OF THE UNIFORM
               FRAUDULENT TRANSFER ACT § 726.106, FLA. STAT. ANN.

                          (Against Defendants Martinez and Rousseau)

       110.    Plaintiff incorporates by reference all the allegations in Paragraphs 1-92 of the

Complaint as if fully set out herein.

       111.    Plaintiff is a creditor under § 726.102, Fla. Stat. Ann.

       112.    Martinez is a debtor under § 726.102, Fla. Stat. Ann.

       113.    Under § 726.106, Fla. Stat. Ann., Plaintiff’s claim against Martinez arose before

the transfers of cash for the down payments and purchases of the Englewood Property and Secoya

Property were made and before the paydown of Rousseau’s mortgage.

       114.    Moreover, Martinez made the transfers without receiving a reasonably equivalent

value in exchange.

       115.    Martinez was unemployed and/or insolvent at the time of the transfer or became

insolvent as a result of each transfer.

       116.    Furthermore, under § 726.106, Fla. Stat. Ann., Plaintiff’s claim arose before the

transfers were made and the transfers were made to Rousseau as an insider.

       117.    Under § 726.102(8), Fla. Stat. Ann., Rousseau is an insider because she is a relative

of Defendant Martinez as his wife.



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       118.    Moreover, Rousseau, as the insider, had reasonable cause to believe that debtor was

insolvent because she knew of Martinez’s finances and his unemployment and assisted him in

drafting his mandatory financial statements to Plaintiff.

       119.    The fraudulent transfers to Rousseau were in violation of Uniform Fraudulent

Transfer Act § 726.106, Fla. Stat. Ann.

       120.    Plaintiff demands all remedies, including without limitation a money judgment for

the amount of the fraudulent transfers and all remedies under § 726.108, Fla. Stat. Ann, including

equitable and injunctive relief, including a lien on real property, and including costs and reasonable

attorneys’ fees.

                 COUNT THREE – VIOLATION OF THE UNIFORM
              FRAUDULENT TRANSFER ACT § 726.105, FLA. STAT. ANN.

                         (Against Defendants Martinez and Prosperity)

       121.    Plaintiff incorporates by reference all the allegations in Paragraphs 1-92 of the

Complaint as if fully set out herein.

       122.    Plaintiff is a creditor under § 726.102, Fla. Stat. Ann.

       123.    Martinez is a debtor under § 726.102, Fla. Stat. Ann.

       124.    Under § 726.105, Fla. Stat. Ann., Martinez’s transfer of cash to Prosperity for the

paydown of Rousseau’s mortgage was a transfer made with actual intent to hinder, delay and

defraud Plaintiff.

       125.    Moreover, under § 726.105, Fla. Stat. Ann., the transfer was made without Martinez

receiving a reasonably equivalent value in exchange for the transfer, and Martinez was engaged in

a transaction for which the remaining assets of Martinez were unreasonably small in relation to

the transaction. Furthermore, Martinez intended to incur, or believed or reasonably should have

believed that he would incur, debts beyond his ability to pay as they became due.



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        126.     The transfer to Prosperity was for the benefit of Rousseau, who is an insider. Under

§ 726.102(8), Fla. Stat. Ann., Rousseau is an insider because she is a relative of Martinez as his

wife.

        127.     Moreover, Martinez retained possession or control of the property transferred after

each transfer.

        128.     Martinez did not disclose the transaction to Plaintiff until after it occurred.

Moreover, despite multiple court orders, Martinez failed to provide Plaintiff with quarterly

financial statements after August 2020 until August 2021.

        129.     Before Martinez made the transfer, he not only had been sued by Plaintiff but

already was in contempt of court and threatened with further contempt proceedings.

        130.     The transfer was of a substantial amount of Martinez’s assets.

        131.     Furthermore, Martinez absconded. The transfer was made within less than a year

of Martinez fleeing Connecticut and relocating to Florida.

        132.     Martinez has removed and concealed hundreds of thousands of assets, including as

he admitted, by removing $1,069,428 from his retirement accounts since January 1, 2020 and aside

from one $25,000 payment in September 2020, using it for reasons other than to pay Plaintiff.

        133.     Martinez received little to no consideration in exchange for the transfer.

        134.     Martinez was unemployed and/or insolvent at the time of the transfer or became

insolvent shortly after the transfer was made.

        135.     Moreover, the transfer occurred in close temporal proximity to the entry of court

orders and other court proceedings.

        136.     The fraudulent transfer to Prosperity was in violation of Uniform Fraudulent

Transfer Act § 726.105, Fla. Stat. Ann.




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        137.    Plaintiff demands all remedies, including without limitation a money judgment for

the amount of the fraudulent transfers and all remedies under § 726.108, Fla. Stat. Ann, including

equitable and injunctive relief, including a lien on real property, and including costs and reasonable

attorneys’ fees.

                   COUNT FOUR – VIOLATION OF THE UNIFORM
               FRAUDULENT TRANSFER ACT § 726.106, FLA. STAT. ANN.

                         (Against Defendants Martinez and Prosperity)

        138.    Plaintiff incorporates by reference all the allegations in Paragraphs 1-92 of the

Complaint as if fully set out herein.

        139.    Plaintiff is a creditor under § 726.102, Fla. Stat. Ann.

        140.    Martinez is a debtor under § 726.102, Fla. Stat. Ann.

        141.    Under § 726.106, Fla. Stat. Ann., Plaintiff’s claim against Martinez arose before

the transfer of cash to Prosperity for the paydown of Rousseau’s mortgage.

        142.    Moreover, Martinez made the transfer without receiving a reasonably equivalent

value in exchange.

        143.    Martinez was unemployed and/or insolvent at the time of the transfer or became

insolvent as a result of the transfer.

        144.    Furthermore, under § 726.106, Fla. Stat. Ann., Plaintiff’s claim arose before the

transfer was made and the transfer was made to Prosperity for the benefit of Rousseau, who is as

an insider.

        145.    Under § 726.102(8), Fla. Stat. Ann., Rousseau is an insider because she is a relative

of Defendant Martinez as his wife.




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       146.    Moreover, Rousseau, as the insider, had reasonable cause to believe that debtor was

insolvent because she knew of Martinez’s finances and his unemployment and assisted him in

drafting his mandatory financial statements to Plaintiff.

       147.    The fraudulent transfer to Prosperity for the benefit of Rousseau was in violation

of Uniform Fraudulent Transfer Act § 726.106, Fla. Stat. Ann.

       148.    Plaintiff demands all remedies, including without limitation a money judgment for

the amount of the fraudulent transfer and all remedies under § 726.108, Fla. Stat. Ann, including

equitable and injunctive relief, including a lien on real property, and including costs and reasonable

attorneys’ fees.

                            COUNT FIVE – INJUNCTIVE RELIEF

            (Against All Defendants, Martinez, Rousseau, Prosperity and MERS)

       149.    Plaintiff incorporates by reference all the allegations in Paragraphs 1-92 of the

Complaint as if fully set out herein.

       150.    This claim is pled in the alternative.

       151.    Plaintiff seeks an injunction directing Martinez, Rousseau, Prosperity and MERS,

as applicable, to abstain and refrain from selling the Secoya Property without an escrow at the

closing of at least the balance of the $520,000 (representing Martinez’s $140,000 down payment

plus $380,000 mortgage paydown) owed to Plaintiff. Plaintiff expressly reserves the right to move

for prejudgment attachment and all related relief.

       152.    Plaintiff seeks an injunction directing Prosperity and MERS, as applicable, to

abstain and refrain from foreclosing any lien or mortgage on the Secoya Property without an

escrow at the closing of at least the $520,000 balance owed to Plaintiff.




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       153.    Plaintiff seeks an injunction directing Martinez and Rousseau, Prosperity and

MERS, as applicable, to abstain and refrain from further mortgaging and/or encumbering the

Secoya Property without a written and recorded confirmation that Plaintiff shall be paid at least

$520,000 before any further funds are collected by Martinez, Rousseau, Prosperity and MERS or

its assigns pursuant to the Secoya Property.

       154.    Plaintiff seeks an injunction directing Martinez, Rousseau, Prosperity and MERS,

as applicable, to abstain and refrain from assigning or transferring its mortgage or secured lien on

the Secoya Property without a written and recorded confirmation that Plaintiff shall be paid at least

$520,000 before any further funds are collected by Martinez, Rousseau, Prosperity and MERS or

its assigns pursuant to the Secoya Property.

       155.    Plaintiff has a clear legal right or interest in the $520,000 fraudulently transferred

by Martinez as it pertains to the Secoya Property and a there exists a substantial likelihood of

success on the merits of her claims to same.

       156.    Plaintiff has no available remedy at law.

                             COUNT SIX – EQUITABLE RELIEF

            (Against All Defendants, Martinez, Rousseau, Prosperity and MERS)

       157.    Plaintiff incorporates by reference all the allegations in Paragraphs 1-92 of the

Complaint as if fully set out herein.

       158.    This claim is pled in the alternative.

       159.    Plaintiff seeks a court order directing Martinez, Rousseau, Prosperity and MERS,

as applicable, to abstain and refrain from selling the Secoya Property without an escrow at the

closing of at least the balance of the $520,000 (representing Martinez’s $140,000 down payment




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plus $380,000 mortgage paydown) owed to Plaintiff. Plaintiff expressly reserves the right to move

for prejudgment attachment and all related relief.

       160.    Plaintiff seeks a court order directing Prosperity and MERS, as applicable, to

abstain and refrain from foreclosing any lien or mortgage on the Secoya Property without an

escrow at the closing of at least the $520,000 balance owed to Plaintiff.

       161.    Plaintiff seeks a court order directing Martinez and Rousseau, Prosperity and

MERS, as applicable, to abstain and refrain from further mortgaging and/or encumbering the

Secoya Property without a written and recorded confirmation that Plaintiff shall be paid at least

$520,000 before any further funds are collected by Martinez, Rousseau, Prosperity and MERS or

its assigns pursuant to the Secoya Property.

       162.    Plaintiff seeks a court order directing Martinez, Rousseau, Prosperity and MERS,

as applicable, to abstain and refrain from assigning or transferring its mortgage or secured lien on

the Secoya Property without a written and recorded confirmation that Plaintiff shall be paid at least

$520,000 before any further funds are collected by Martinez, Rousseau, Prosperity and MERS or

its assigns pursuant to the Secoya Property.

       163.    Plaintiff seeks a court order establishing and confirming that Plaintiff has a security

interest in the Secoya Property.

       164.    Plaintiff seeks a court order establishing and confirming that Plaintiff has an

equitable lien in the Secoya Property.

       165.    Plaintiff seeks a court order establishing a constructive trust in Plaintiff’s favor for

at least the $520,000 balance as to the Secoya Property.

       166.    Plaintiff seeks a court order establishing a constructive trust in Plaintiff’s favor for

at least the $520,000 balance as to the Secoya Property.




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                  COUNT SEVEN – FRAUDULENT ASSET CONVERSION

                                   (Against Defendant Martinez)

        167.    Plaintiff incorporates by reference all the allegations in Paragraphs 1-92 of the

Complaint as if fully set out herein.

        168.    This is a claim under § 222.30, Fla. Stat. Ann., as Martinez fraudulently converted

hundreds of thousands of dollars in cash, in an attempt to make the assets immune from the claims

of Plaintiff, his creditor.

        169.    The fraudulent conversions include without limitation all amounts paid from

Defendant’s non-exempt bank accounts toward the purchase of the Englewood Property and

Secoya Property and the paydown of Rousseua’s mortgage on the Secoya Property.

        170.    Martinez effectuated the fraudulent conversions with intent to hinder, delay and

defraud Plaintiff, his creditor.

        171.    Upon information and belief, Martinez continues to fraudulently convert and

deplete his assets and liquidity in order to avoid paying Plaintiff the debt he owes.

        172.    As a result of Martinez’s misconduct, Plaintiff has sustained hundreds of thousands

of dollars, plus interest and attorney’s fees.

                       COUNT EIGHT – DECLARATORY JUDGMENT

             (Against All Defendants, Martinez, Rousseau, Prosperity and MERS)

        173.    Plaintiff incorporates by reference all the allegations in Paragraphs 1-92 of the

Complaint as if fully set out herein.

        174.    This is a claim under Fla. Stat. 86, and as such, this Court has jurisdiction to declare

the rights, statuses and other equitable and legal relations among the parties to this action.




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       175.    Plaintiff seeks a declaration of rights, statuses and other equitable and legal

relations among the parties.

       176.    This includes without limitation a declaration of Plaintiff’s and Defendants’ rights,

statuses and equitable and legal relations as it pertains to § 222.29, Fla. Stat. Ann., § 222.30, Fla.

Stat. Ann., § 726.105, Fla. Stat. Ann. and § 726.106, Fla. Stat. Ann.

       177.    This claim is pled in the alternative.

       178.    There is a present, actual and justiciable controversy among the parties.

       179.    Plaintiff has a claim regarding the fraudulent transfer of money effectuated by

Defendant Martinez to acquire the Secoya Property and significantly pay down Rousseau’s

mortgage on the Secoya Property. Plaintiff has a right and an interest in said money. Moreover,

Plaintiff may also have a claim and an interest in certain other instruments, memoranda or other

articles associated with the fraudulent transfer or other fraudulent transfers made by Martinez.

       180.    Plaintiff seeks to obtain a declaration of rights, status and other equitable and legal

relations among all the Parties to this action involving Martinez’s fraudulent transfers for the down

payment on the Secoya Property and significant paydown of Rousseau’s mortgage on the Secoya

Property.

       181.    Plaintiff seeks a declaratory judgment holding that under these circumstances, the

down payment and paydown of the mortgage were fraudulent transfers and fraudulent asset

conversions. As such, Plaintiff seeks a declaratory judgment that the down payment and mortgage

paydown transactions be declared null and void, that the transactions be voided, and that the money

used be placed into escrow and then paid to Plaintiff to partially satisfy the existing judgments and

contempt orders against Martinez which are owed to Plaintiff.




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       182.     The relief sought is not intended as a request for legal advice or an advisory opinion

of the Court.

       183.     Plaintiff requests a declaratory judgment holding that Plaintiff shall have a security

interest in the form of a lien upon the Secoya Property.

       184.     Plaintiff seeks a declaratory judgment that Plaintiff has an equitable lien in the

Secoya Property.

       185.     Plaintiff seeks a declaratory judgment that Plaintiff is entitled to a constructive trust

in Plaintiff’s favor for at least the $520,000 balance as to the Secoya Property.

                       COUNT NINE – DECLARATORY JUDGMENT

                          (Against Defendants Martinez and Rousseau)

       186.     Plaintiff incorporates by reference all the allegations in Paragraphs 1-92 of the

Complaint as if fully set out herein.

       187.     This is a claim under Fla. Stat. 86, and as such, this Court has jurisdiction to declare

the rights, statuses and other equitable and legal relations among the parties to this action.

       188.     This claim is pled in the alternative.

       189.     There is a present, actual and justiciable controversy among the parties.

       190.     Defendant Martinez has claimed that certain payments he has paid to or for the

benefit of Defendant Rousseau were loans. This includes without limitation Defendant Martinez’s

approximately $120,000 down payment on the Englewood Property and Defendant Rousseau’s

alleged repayment of that amount to Defendant Martinez upon the sale of the Englewood Property.

       191.     Plaintiff seeks a declaration of rights, statuses and other equitable and legal

relations among the parties as it pertains to any and all alleged loans from Defendant Martinez to

Defendant Rousseau, and from Defendant Rousseau to Defendant Martinez. This includes, without




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limitation, a declaration on the validity of those loans and any alleged repayment of those loans,

and a declaration regarding Plaintiff’s rights to the loan proceeds and amounts exchanged between

Defendant Rousseau and Defendant Martinez as it pertains to Plaintiff’s status as a judgment

creditor and beneficiary of multiple contempt orders against Defendant Martinez.

       WHEREFORE, Plaintiff prays that this Court enter a judgment against Defendant as

follows:

       A.      Issuance of a money judgment against both Defendants, jointly and
               severally, for at least $640,000;

       B.      Avoidance of the transfers or obligations to the extent necessary to satisfy
               the Plaintiff's claim;

       C.      An attachment, lien, equitable lien, or other remedy, or provisional remedy,
               against the assets transferred or other property of Rousseau, Martinez,
               Prosperity and/or MERS, in accordance with applicable law;

       D.      Subject to applicable principles of equity and in accordance with applicable
               rules of civil procedure:

               1. An injunction against further disposition by Martinez and
                  Rousseau of the assets transferred and their other property;

               2. Appointment of a receiver to take charge of the assets transferred
                  and of other property of Rousseau; and

               3. Any other relief the circumstances may require.

       E.      Execution on the assets transferred and any of their proceeds;

       F.      An Order nullifying the paydown of the Prosperity note and MERS
               mortgage;

       G.      An Order directing that the money paid to Prosperity be placed into escrow
               and then transferred to Plaintiff;

       H.      Judgment against Defendant Martinez for damages in the total amount of
               all money paid pursuant to the fraudulent transfers and fraudulent asset
               conversions;




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      I.    An injunction directing Defendants Martinez and Rousseau to immediately
            cease fraudulently transferring and fraudulently converting Martinez’s
            assets;

      J.    An Order directing Defendants Martinez and Rousseau to make an accurate
            accounting of Martinez and Rousseau’s current assets and liabilities and any
            substantial transfers of their assets or property since January 1, 2020;

      K.    An Order holding Defendant Martinez in contempt of court;

      L.    An Order enjoining Defendant Rousseau from receiving further fraudulent
            transfers from Defendant Martinez;

      M.    An Order enjoining Defendant Prosperity from receiving further fraudulent
            transfers from Defendant Martinez;

      N.    Appointment of a receiver to ascertain the accuracy of Martinez’s
            representations regarding his assets and liabilities and information
            regarding his asset transfers and asset conversions;

      O.    Reasonable attorneys’ fees payable to Plaintiff in an amount to be
            determined;

      P.    Costs of collection; and

      Q.    Such other and further relief as this Court deems just and proper.



                                                    Respectfully submitted,

                                                    CHASE LAW & ASSOCIATES, P.A.

                                          By:       /s/ Kenneth E. Chase
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                                                    Fax: (305) 402-2725
                                                    Email: kchase@chaselaw.com




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                                                           Footnotes


1        The plaintiff testified that she told the defendant that she did not want the wireless network installed in her
         home, stating that “[h]e ... expressed his wanting wireless Internet in the house, and I adamantly did not want
         it in the house, because it felt creepy to me.” The plaintiff testified that, despite her protests, he installed it
         anyway.
2        The officers did not find the spy camera installed on the television in the plaintiff's bedroom.
3        At trial, the defendant admitted that he had trespassed onto the plaintiff's property.
4        At trial, the defendant testified as follows with respect to his representation at the July 15, 2008 hearing:
         “[The Plaintiff's Attorney]: You were under oath at the [accelerated rehabilitation] hearing?
         “[The Defendant]: Yes....
         “[The Plaintiff's Attorney]: You told the judge, you told [the plaintiff] there was no more spy equipment in her
         house?
         “[The Defendant]: Correct.
         ***
         “[The Plaintiff's Attorney]: [A]t that hearing—did you authorize [your attorney] to assure [the plaintiff] that there
         were no other surveillance [devices] except for the ones that the Bloomfield Police had already impounded?
         “[The Defendant]: Yes.
         “[The Plaintiff's Attorney]: So you made—you gave [your attorney] the authority to assure the court and to
         assure [the plaintiff] that there was no more surveillance left in her house.
         “[The Defendant]: Yes.”
5        As conditions of his accelerated rehabilitation, the court also ordered the defendant to (1) be supervised
         for two years; (2) make a $500 donation to the court; (3) pay the defendant's counseling fees for one year;
         (4) have no contact with the defendant; (5) remain one hundred yards from her property; and (6) see a
         psychologist.
6        The surveillance inspector, James Atkinson, walked down the plaintiff's street and captured the transmissions
         from inside her bedroom with a handheld receiver.
7        More specifically, the negligence per se count alleged that the defendant's conduct was unreasonable
         and violative of General Statutes §§ 53a–189, 53a–189a, and 53a–189b, which govern the offenses of
         eavesdropping, voyeurism, and dissemination of voyeuristic material, respectively.
8        Prior to commencing this appeal, the defendant filed a motion for rectification with the trial court. The
         parties thereafter filed a stipulation with the court indicating precisely what was played for the jury during its



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         deliberations on June 25, 2012. The court granted the motion for rectification and ordered the rectification of
         the June 25, 2012 transcript in accordance with the parties' stipulation.
9        In his principal appellate brief, the defendant appears also to contest the propriety of the plaintiff's answer,
         arguing that “the plaintiff was able to insert, into her response to a question about what she feared, her
         opinion that images from the undiscovered camera could be seen from 300 yards away.” We decline to review
         the merits of that assertion for two reasons. First, our rules of practice require a party, as a prerequisite
         to appellate review, to distinctly raise its claim before the trial court. See Practice Book § 5–2 (“[a]ny party
         intending to raise any question of law which may be the subject of an appeal must ... state the question
         distinctly to the judicial authority”); Practice Book § 60–5 (“[t]he court shall not be bound to consider a claim
         unless it was distinctly raised at trial or arose subsequent to trial”). For that reason, we repeatedly have held
         that “we will not decide an issue that was not presented to the trial court. To review claims articulated for the
         first time on appeal and not raised before the trial court would be nothing more than a trial by ambuscade
         of the trial judge.” (Internal quotation marks omitted.) State v. Martin, 110 Conn.App. 171, 180, 954 A.2d
         256 (2008), appeal dismissed, 295 Conn. 192, 989 A.2d 1072 (2010); see also            State v. Favoccia, 119
         Conn.App. 1, 14, 986 A.2d 1081 (2010) (“[i]t is axiomatic that issues not properly raised before the trial court
         ordinarily will not be considered on appeal”), aff'd, 306 Conn. 770, 51 A.3d 1002 (2012). The record reveals
         that the defendant did not voice any objection to the plaintiff's answer during either her trial testimony or the
         subsequent playback of that testimony to the jury as it deliberated.
         Second, at oral argument before this court, the defendant's counsel conceded that he was challenging only
         the propriety of the prefatory remark of counsel, and not the subsequent answer provided by the plaintiff. We
         therefore confine our review to the sole objection raised by the defendant before the trial court.
10       Calculated in light of her life expectancy, the plaintiff's request amounted to approximately $10,000 per week
         as compared to the defendant's suggestion of $50 per week. The jury's award of damages amounts to
         approximately $1000 per week.
11       In his principal appellate brief, the defendant also complains that the jury's verdict was improperly predicated
         on certain testimony adduced at trial, such as a witness' statement that the defendant was “employed at
         a seven-figure salary.” It nevertheless remains that the defendant did not object to such testimony at trial,
         nor has he claimed any evidentiary error with respect thereto in this appeal. The jury's consideration of that
         testimony, therefore, was not improper.
12       The court also instructed the jury, consistent with the stipulation of the parties, that the plaintiff's life
         expectancy was thirty-seven and one-half years.


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                                                                Footnotes


1       William V. Martinez, Jr., was the sole defendant in the underlying civil action commenced by the plaintiff in
        2010. See Welsh v. Martinez, 157 Conn. App. 223, 114 A.3d 1231, cert. denied, 317 Conn. 922, 118 A.3d
        63 (2015). The plaintiff subsequently commenced a fraudulent transfer action against Martinez's then-wife,
        Cristina Martinez (Cristina), and other family members in the fall of 2016, which later was consolidated with
        the underlying civil action by order of the court in 2017. Because the contempt motion at issue in this appeal
        pertains solely to William V. Martinez, Jr., for purposes of clarity, we refer to him as the defendant in this
        opinion.
2       For a more detailed account of the conduct that gave rise to this litigation, see Welsh v. Martinez, supra, 157
        Conn. App. at 225–34, 114 A.3d 1231.
3       The defendant did not challenge the propriety of that supplemental award on appeal.
4       On April 23, 2013, the trial court granted the plaintiff's motion for postjudgment interest and ordered that
        “interest at the rate of 3.5 percent per annum is awarded as of December 25, 2012.”
5       We note that “[d]espite the apparent contradiction in terms, a prejudgment remedy may be granted after the
        entry of judgment but before appellate disposition in order to protect assets to satisfy the judgment.” Tadros
        v. Tripodi, 87 Conn. App. 321, 335 n.9, 866 A.2d 610 (2005); see also        Gagne v. Vaccaro, 80 Conn. App.
        436, 454, 835 A.2d 491 (2003) (“a prejudgment remedy is available to a party who has prevailed at the trial
        level and whose case is on appeal”), cert. denied, 268 Conn. 920, 846 A.2d 881 (2004).
6       We refer to the court's July 9, 2012 order as the “asset standstill order” both for convenience and because
        that is the nomenclature employed by the parties and the trial court in this case.
7       The asset disclosure order required the defendant to provide quarterly asset disclosures to the plaintiff under
        penalty of false statement. In those disclosures, the defendant was obligated to identify: “(a) Any and all
        real property, personal property, title, rights, and thing of value whatsoever, in which [the defendant] has an
        interest from the period of July 9, 2012 through the date of the disclosure; (b) Any and all wages paid to [the
        defendant], including amounts, formulas, and their scheduled dates of disbursement, from the period of July


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        9, 2012 through the date of the disclosure; (c) The financial institution, location, account number, and monthly
        balances of all bank or trading accounts ever held by, in the name of, or for the benefit of [the defendant]
        from the period of July 9, 2012 through the date of the disclosure; and (d) Any and all debts due and owing
        to [the defendant] from the period of July 9, 2012 through the date of the disclosure.”
8       The defendant did not call any witnesses during the contempt hearing.
9       At the contempt hearing, the defendant testified that although the account was in Cristina's name alone, she
        provided him with full access to the account, including an ATM card with her name on it and her password
        information to access the account online.
10      The evidence adduced at the contempt hearing includes statements from Cristina's account at People's
        United Bank. Although those statements provide specificity as to certain transactions, such as utility
        payments, they provide no explanation for numerous other transactions. For example, the November 27,
        2014 statement includes a withdrawal of $6660 on October 28, 2014, for “Check 387,” a withdrawal of $13,382
        on October 31, 2014, for “Check 389,” a withdrawal of $48,867.47 on November 3, 2014, for “Check 390,” a
        withdrawal of $851.01 on November 6, 2014, for “Check 392,” a withdrawal of $1550 on November 7, 2014,
        for “Check 393,” a withdrawal of $1484.45 on November 18, 2014, for “Check 398,” and a withdrawal of
        $2217.76 on November 18, 2014, for “Check 399.”
11      The court found, and the parties do not dispute, that the defendant's wages constituted “personal assets” as
        that term is used in the asset standstill order. (Internal quotation marks omitted.)
12      The record before us includes a copy of a writ and attachment that the plaintiff served on the main office
        of People's United Bank for the purpose of attaching Cristina's bank account in connection with the present
        litigation. The record also includes a copy of the January 2, 2014 letter that Norma Jurnack, a legal service
        of process representative at People's United Bank, sent to the plaintiff's counsel, in which she stated: “This
        letter is in response to the Writ and Attachment ... served on People's United Bank .... We have researched
        our records and found that [the defendant] [does] not maintain accounts at [People's] United Bank.”
13      In construing the asset standstill order, we accord the language contained therein its common meaning.
        See      Barnard v. Barnard, 214 Conn. 99, 115, 570 A.2d 690 (1990). To “transfer” ordinarily means “to
        convey from one person, place, or situation to another.” Merriam-Webster's Collegiate Dictionary (11th Ed.
        2003) p. 1328; see also Black's Law Dictionary (9th Ed. 2009) p.1636 (defining “transfer” as “[t]o convey
        or remove from one place or one person to another; to pass or hand over from one to another, esp. to
        change over the possession or control”). Application of that common meaning compels the conclusion that
        the defendant transferred personal assets when he deposited his wages into a third party's bank account in
        which he concededly had no legal interest.
14      A copy of the defendant's December 26, 2015 pay stub was admitted into evidence at the contempt hearing.
        That document reflects a net annual income of $707,522.83. The record also contains the defendant's July
        3, 2017 affidavit, in which he averred in relevant part that he currently was “paid one hundred thousand
        ($100,000) dollars per month.”
15      As the court found in its memorandum of decision, “[b]y directing the deposit of his wages [into Cristina's
        People's United Bank account], [the defendant] made it impossible for the plaintiff to attach” those assets.
16      The court's memorandum of decision contains no finding as to whether the plaintiff had attached any other
        assets of the defendant besides his Farmington Bank account. For example, the court made no finding as
        to whether the plaintiff had filed an attachment on the defendant's real property known as 92 Northgate in
        Avon, despite the fact that Judge Robaina, in granting the plaintiff's application for a prejudgment remedy on
        July 31, 2012, ordered that the plaintiff was “allowed to attach property of the defendant to the amount of $2
        million including, but not limited to property located at 92 Northgate, Avon, Connecticut ....” The defendant's
        quarterly disclosures of assets were admitted into evidence as full exhibits at the contempt hearing. Exhibit
        10 (Q) is his July, 2017 disclosure, in which the defendant acknowledged his 100 percent interest in the 92
        Northgate property. That disclosure also included a copy of his separation agreement with Cristina, which
        was incorporated into the judgment of dissolution rendered by the Superior Court on May 5, 2017, and which




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        provides in relevant part that the defendant “shall retain the marital home located at 92 Northgate, Avon,
        Connecticut, free and clear of any claim by [Cristina]....”
          The court also made no factual findings as to whether the plaintiff had obtained any recovery on the
          underlying judgment in the five years that had passed since the jury rendered a verdict in her favor, or the
          specific amount thereof. In its memorandum of decision, the court found that Farmington Bank notified the
          plaintiff on October 22, 2012, that it “was holding $26,717.83” in response to the attachment filed by the
          plaintiff. The court nevertheless made no finding as to whether the plaintiff recovered those funds in the
          years between that attachment and the contempt hearing.
17
        See, e.g.,    Glanz v. Testa, 200 Conn. 406, 411 n.3, 511 A.2d 341 (1986) (“[a] defendant who perceives
        that an attachment is excessive is free” to bring claim to court's attention);    E. J. Hansen Elevator, Inc. v.
        Stoll, 167 Conn. 623, 629, 356 A.2d 893 (1975) (discussing case involving “an application for the reduction or
        dissolution of a claimed excessive attachment made in an action brought to the Superior Court”); Hodgen v.
        Roy, 102 Kan. 197, 169 P. 1143, 1144 (1918) (“[a] court has authority to protect a defendant ... by preventing
        an excessive levy” in attachment of property); 6 Am.Jur.2d 700, Attachment and Garnishment § 286 (2019)
        (“[a] debtor is entitled to relief from an excessive levy upon proper application to the court”).


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                                                                                         ORDER      414999
DOCKET NO: HHDCV106012959S                                 SUPERIOR COURT

WELSH, D'ANNA                                              JUDICIAL DISTRICT OF HARTFORD
 V.                                                          AT HARTFORD
MARTINEZ, WILLIAM
                                                           8/14/2020



                                                 ORDER


ORDER REGARDING:
04/13/2020 321.00 MOTION FOR ORDER

Plaintiff's Counsel and Defendant Present.

The foregoing, having been heard by the Court, is hereby:

ORDER: GRANTED

The court heard plaintiff’s counsel and the self-represented defendant, Dr. William Martinez, Jr., by
virtual courtroom technology.

The court, Moll J., found the defendant in civil contempt on November 9, 2017. (Entry # 268.00.) The
Appellate Court affirmed the contempt finding on August 20, 2019. Welsh v. Martinez, 191 Conn. App.
862, 216 A.2d 718 (2019). That ruling is the law of the case and thus the court will not entertain the
defendant’s arguments that the contempt finding was invalid.

The question instead is whether the court should revise the sanctions imposed for the contempt. Judge
Moll had originally imposed a fine of $25,000 per month. Judge Moll warned that, if the defendant
failed to pay, “the court will entertain a motion by the plaintiff for appropriate sanctions, including but
not limited to incarceration.” (Entry # 268.00, pp. 15-16.) In February, 2020, after the last hearing and
upon remand from the Appellate Court, the court ordered the defendant to continue paying the monthly
fine of $25,000 up to the amount of $2,048,009.06. These payments would then serve as a credit against
the underlying judgment of $2,360,000.00 plus interest. (Entry #318.00.)

There is no dispute that the defendant has not made a monthly payment since August, 2019. The court
had previously ruled that the defendant had the ability to pay and that the court could consider the
defendant’s retirement accounts in making that determination. (Entry # 293.00). After today’s hearing,
the court continues to believe that the defendant has the ability to pay. The exhibits and the testimony of
the defendant establish that the defendant has approximately $1 million in retirement funds. Further,
over the past nine months, the defendant has liquidated approximately $216,000 in additional retirement
funds, thus revealing the defendant’s willingness to pay any applicable taxes and penalties and use funds
that are nominally reserved for retirement. (Ex. 2, p. 5.)

Accordingly, the court enters the following orders:
1. The defendant shall pay the plaintiff $25,000 by September 15, 2020 and by the fifteenth of each
succeeding month.
2. If the defendant has failed to make the September 15, 2020 payment, he shall report to Superior
Court, 95 Washington St., Hartford, CT at 10:00 a.m. on September 15, 2020. The court is aware of the
public health-related restrictions on travel from Florida, where the defendant apparently now lives, but
the defendant will have to comply with those restrictions and appear in court on September 15, 2020.
3. If the defendant fails to make the payment at that time, he shall be incarcerated or otherwise confined
for civil contempt. Pursuant to Practice Book § 1-21A, the purpose of such incarceration or confinement
shall be to coerce payment from and not to punish the defendant. The defendant shall be immediately
HHDCV106012959S 8/14/2020                                                                       Page 1 of 2
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released upon making payment.
4. If the defendant fails to appear as ordered in paragraph 2, the court will issue a capias for his arrest.
5. If the defendant fails to make a timely payment in any subsequent month, the court will entertain a
motion from the plaintiff seeking appropriate remedies.

Judicial Notice (JDNO) was sent regarding this order.

                                                              414999

                                                              Judge: CARL J SCHUMAN
This document may be signed or verified electronically and has the same validity and status as a document with a physical
(pen-to-paper) signature. For more information, see Section I.E. of the State of Connecticut Superior Court E-Services
Procedures and Technical Standards (https://jud.ct.gov/external/super/E-Services/e-standards.pdf), section 51-193c of the
Connecticut General Statutes and Connecticut Practice Book Section 4-4.




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